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12                        FOR THE EASTERN DISTRICT OF CALIFORNIA

13                       AND THE NORTHERN DISTRICT OF CALIFORNIA

14            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

15              PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

16

17   RALPH COLEMAN, et al.,                               2:90-cv-00520 LKK JFM P

18                                         Plaintiffs,    THREE JUDGE COURT

19                  v.

20   ARNOLD SCHWARZENEGGER, et al.,

21                                       Defendants.

22
     MARCIANO PLATA, et al.,                              No. C 01-1351 TEH
23
                                           Plaintiffs,    THREE JUDGE COURT
24
               v.
25
     ARNOLD SCHWARZENEGGER, et al.,
26
                                         Defendants.
27 / / /

28 / / /

     SEALED DOCUMENT                                              Case Nos. C 01-1351 & 2:90-cv-00520
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